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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 STEPHEN O. and BRIDGET M.,
 individually and on behalf of J.O.,

                         Plaintiffs,                           CIVIL ACTION
                                                               NO. 20-1991
        v.

 SCHOOL DISTRICT OF PHILADELPHIA,

                         Defendant.


                                           ORDER

       AND NOW, this 31st day of March 2021, upon consideration of Plaintiffs’ Motion to

Supplement the Administrative Record (Doc. No. 30), Defendant’s Response in Opposition (Doc.

No. 31), Plaintiffs’ Reply (Doc. No. 32), the administrative record (Doc. No. 13), the arguments

of counsel for the parties at the hearing on the Motion held on March 8, 2021, and in accordance

with the Opinion of the Court issued this day, it is ORDERED that Plaintiffs’ Motion (Doc. No.

30) is DENIED.



                                                   BY THE COURT:



                                                   / s / J oel H. S l om s ky
                                                   JOEL H. SLOMSKY, J.
